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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                          §
In re:                                                    §             Case No. 21-31488
                                                          §
WATTSTOCK, LLC,1                                          §             Chapter 11
                                                          §
                 Reorganized Debtor.                      §             Subchapter V
                                                          §

          STIPULATION AND AGREED ORDER BY THE DEBTOR AND
    GE PACKAGED POWER, LLC TO MODIFY PROOF OF CLAIM NUMBER 9-1

TO THE HONORABLE STACEY G JERNIGAN, CHIEF UNITED STATES BANKRUPTCY
JUDGE:

         WattStock, LLC (the “Reorganized Debtor” or “WattStock”), the reorganized debtor in

the above-styled bankruptcy case (“Bankruptcy Case”),                       and GE Packaged Power, LLC

(“GEPP”) hereby stipulate and agree to the following:




1
    The last four digits of the Debtor’s taxpayer identification number are 9179.

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                                       I.    RECITALS

       A.      On October 26, 2021, GEPP filed proof of claim number 9-1 (the “Proof of Claim

No. 9”) in the claims register, which asserts, among other things, a claim for pre-petition rent

owed in the amount of $536,551.05 (the “Rent Arrears”).

       B.      GEPP and WattStock have agreed to modify the Rent Arrears from $536,551.05

to $333,641.16 to credit WattStock for the rent payments it made prior to commencing the

Bankruptcy Case.

                            II.       STIPULATION AND ORDER

       It is therefore agreed and ORDERED as follows:

       1.      The amount asserted for Rent Arrears in Proof of Claim No. 9 is modified to

$333,641.16.

       2.      The Bankruptcy Court shall retain jurisdiction to enforce the terms of this

Stipulation.

                                  ### END OF ORDER ###

Agreed to and jointly submitted by:

 /s/ Thomas D. Berghman                           /s/ Glenn Reisman (with permission)
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GE PACKAGED POWER, LLC TO MODIFY PROOF OF CLAIM NUMBER 9-1 – Page 2
